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             IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


IN RE ANDROGEL ANTITRUST                 MASTER DOCKET NO.
LITIGATION (II)                          1:09-MD-2084-TWT

ROCHESTER DRUG CO-OPERATIVE,
INC., ET AL.,
             PLAINTIFF,
                      V.
UNIMED PHARMACEUTICALS,                  CASE NO. 1:09-CV-956-TWT
LLC, ET AL.,
             DEFENDANTS.

LOUISIANA WHOLESALE DRUG
CO., INC., ET AL.,
             PLAINTIFF,
                      V.                 CASE NO. 1:09-CV-957-TWT
UNIMED PHARMACEUTICALS,
LLC, ET AL.,
             DEFENDANTS.

MEIJER, INC., ET AL.,
            PLAINTIFFS,
                      V.
UNIMED PHARMACEUTICALS,                  CASE NO. 1:09-CV-958-TWT
LLC, ET AL.,
            DEFENDANTS.



        PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
  MOTION IN LIMINE NO. 16 TO LIMIT LIVE TESTIMONY OF DEFENSE
 WITNESSES UNAVAILABLE TO TESTIFY IN PLAINTIFFS’ CASE-IN-CHIEF
 AND TO PRECLUDE DEFENDANTS FROM PLAYING DEPOSITION CLIPS
               DURING PLAINTIFFS’ CASE-IN-CHIEF
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RITE AID CORPORATION, ET AL.,
           Plaintiffs,
            v.                CASE NO. 1:09-CV-2776-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
           Defendants.

WALGREEN CO., ET AL.,
         Plaintiffs,
           v.                CASE NO. 1:09-CV-3019-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.

SUPERVALU, INC.,
         Plaintiff,
           v.                CASE NO. 1:10-CV-1024-TWT
UNIMED PHARMACEUTICALS, LLC,
ET AL.,
         Defendants.
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         1. Motion to Exclude Live Testimony of Defendants’ Witnesses Who
            Are Unavailable to Testify in Plaintiffs’ Case-In-Chief.


      The key factual testimony in support of Plaintiffs’ claims will likely come

from Defendants’ current and former employees.          Although Defendants have

agreed to allow Plaintiffs to call some of its witnesses live during their case-in-

chief, Plaintiffs expect that Defendants will call a significant number of live

witnesses, including its current or former employees, at trial for its defense.

Because none of the Defendants are headquartered in Georgia any longer, few, if

any, of these witnesses can be compelled by Plaintiffs to appear at trial under the

Court’s subpoena power. Juries pay better attention to live witnesses and are

notoriously bored by spliced video clips. Relegating Plaintiffs’ presentation of

evidence to assorted video depositions while Defendants offer live testimony

compromises the fundamental fairness of the trial.        As a matter of fairness,

Plaintiffs should have the option to call defense witnesses live during their case-in-

chief rather than relying on deposition testimony.


      The Court has substantial discretion over the presentation of evidence at trial

under Fed. R. Evid. 611(a), and district courts have repeatedly precluded




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defendants from calling their own witnesses to testify live at trial after failing to

produce those witnesses for the plaintiffs’ cases-in-chief.1

        In R.B. Matthews, Inc. v. Transamerica Transportation Services, Inc., for

example, the Ninth Circuit condemned the defendant’s “gamesmanship” in

refusing to produce live witnesses for plaintiffs’ case-in-chief and affirmed the trial

court’s exclusion of live testimony during defendant’s case. 2 The court reasoned

that if the defendant “had truly wished to present the live testimony of [its

employees], it could have done so by making those witnesses available when [the



         1
         See e.g. Amgen Inc. v. F. Hoffman-La Roche Ltd., et al., No. 05-12237,
2007 WL 6335374 (D. Mass.August10, 2007) (pre-trial memorandum of
defendant noting that this Court, in its pre-trial conference with the parties,
“stated that an adverse party can call as a live witness in its case any witness
identified to be called live by the other party.”) Buchwald v. Renco Grp., Inc.,
No. 13-cv- 7948, 2014 WL 4207113, at *1 (S.D. N.Y. Aug. 22, 2014) (“To
prevent unfairness and avoid wasting time, numerous courts have held that a
party may not limit a witness that the party intends to call at trial from testifying
only during its own case in chief.”) (collecting cases); In re C.R. Bard, Inc.,
Pelvic Repair Sys. Prod. Liab. Litig., No. 2:11-cv-00195, 2013 U.S. Dist.
LEXIS 94121, at *6-7 (S.D. W. Va. July 5, 2013) (holding that it would be
inequitable to permit a party to call a witness to testify live during its case-in-
chief and then make the same witness unavailable to testify live for the
opposing party); Eolas Tech., Inc. v. Microsoft Corp., 270 F.Supp.2d 997, 1001
(N.D. Ill. 2003); Niebur v. Cicero, 212 F.Supp.2d 790, 806-807 (N.D. Ill. 2002).
    2
        945 F. 2d 269. 273 (9th Cir. 1991).

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plaintiff] requested that they be produced.”3 Similarly, in Eolas Technologies, Inc.

v. Microsoft Corp., the court granted a motion in limine requiring the defendant to

make employees that it intended to call as defense witnesses available to testify

during the plaintiff's case-in-chief. 4 Either the witness is available to testify at trial

or not. To allow Defendants to present live witnesses to the jury while resigning

Plaintiffs to spliced video clips would unfairly disadvantage Plaintiffs’ ability to

try their case.


        Requiring live testimony also better serves the jury. “[I]t is well recognized

that live testimony      is preferred over videotaped depositions or other means of

presenting evidence.” 5 Live testimony better facilitates the jury’s efforts to

ascertain the truth, in part because jurors pay more attention to live witnesses. As

the District Court for the Western District of Louisiana has observed:


              [C]ontemporaneous transmission of live witness
              testimony will better allow the jury to more realistically
              see the live witness along with his hesitation, his doubts,
    3
        Id.
    4
        270 F. Supp. 2d at 1001.
    5
        InfoMc, Inc. v. Comprehensive Behavioral Care, Inc., No. 10-cv-4907, 2012
WL 1114360, at *17 (E.D. Pa. Mar. 30, 2012) (collecting cases).

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              his variations of language, his confidence or precipitancy,
              his calmness or consideration, without editing or the
              unavoidable esthetic distance created by a video
              deposition and, thus, more fully and better satisfy the
              goals of live, in-person testimony[.] 6
In Traylor v. Husqvarna Motor, the Seventh Circuit reviewed a case in which an

expert’s direct examination was conducted live, but the cross-examination was

presented to the jury via video- tape. 7          Judge Posner, writing for the court,

explained that such “‘dual media’ testimony is generally . . . a bad idea” because,

as “common sense” dictates, “a living person generally conveys a stronger

impression than does his [taped testimony].” 8


         Although Plaintiffs will have an opportunity to cross-examine Defendants’

 live witnesses, Plaintiffs are at a distinct disadvantage if forced to present their

 case-in-chief through snippets of video while Defendants present their case




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        In re Actos (Pioflitazone) Prods. Liab. Litig., No. 12-cv-00064, 2014 WL
107153, at *8 (W.D. La. Jan. 8, 2014) (internal quotation marks omitted).
    7
        988 F. 2d 729, 734 (7th Cir. 1993).
    8
        Id.

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through live witnesses. 9 This scenario would raise the same problems identified

by Judge Posner, namely, that the live testimony offered on behalf of the defense

will have “artificially greater salience” than the recorded testimony shown by

Plaintiffs.10 To make the trial “effective for the ascertainment of the truth,”11 this

sort of “thumb on the scale” should be prevented: Defendants’ witnesses should

be made available live for both parties or for neither.

              This Court should use its inherent authority over the conduct of the

trial to ensure a balanced and efficient presentation of the evidence by requiring

that each Defendant make the witnesses it intends to call live in its case-in-chief

also available in such manner to the Plaintiffs. If a witness for Defendants is

available to testify at trial, then Defendants should make that witness available to

Plaintiffs for their case-in-chief.

           2. Motion to Preclude Defendants from Playing Deposition Clips
              during Plaintiffs’ Case-In-Chief, Unless Testimony is Cross-
              Examination or Necessary for Completeness



   9
        Plaintiffs would retain the right to proceed with the witness via live
examination or deposition designations.
   10
        Traylor, 988 F. 2d at 734.
   11
        FED. R. EVID. 611(a)(1).

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        Plaintiffs respectfully request an order from this Court precluding

Defendants from playing deposition testimony in the Plaintiffs’ case-in-chief,

except when such testimony represents proper cross-examination or is

necessary for completeness.

        Rule 32 of the Federal Rules of Civil Procedure addresses the use of

deposition testimony at trial and provides: “If a party offers in evidence only part

of a deposition, an adverse party may require the offer or to introduce other parts

that in fairness should be considered with the part introduced, and any party may

itself introduce any other parts. 12

        As the cited language indicates, Defendants should be permitted to play

clips from the same deposition, as required by “fairness” under the rule of

completeness. Fed. R. Evid. 106. In this Circuit, “fairness” requires that the

portions of the depositions Defendants can play in Plaintiffs’ case-in-chief are

those “relevant to an issue in the case and necessary to clarify or explain the

portion [of the deposition] received.” U.S. v. Range 94 F.3d 614, 620-621 (11th

Cir. 1996)(emphasis added). Thus, any additional defense designations that are

necessary to clarify the portions designated by Plaintiffs are permissible, but to


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        Fed. R. Civ. P. 32(a)(6).

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 the extent that Defendants wish to explore topics that Plaintiffs did not explore

 with the witness, those clips should be played during Defendants’ case-in- chief.

          Defendants may seek carte blanche to play whatever they wish from any

 deposition, during the Plaintiffs’ case-in-chief.    The Court should reject this

 proposed approach and follow normal procedures for examination and cross-

 examination.

           Under Federal Rule of Evidence 611, the scope of cross-examination

“should not go beyond the subject matter of direct examination and matters

affecting the witness’s credibility.” 13 The rule also states that the Court “may

allow inquiry into additional matters as if on direct examination.” 14 The

Advisory Committee Notes state that the rule was changed to limit

questioning to the scope of direct examination, in most situations.         The

committee stated its agreement with that change, noting that “the factors of

insuring an orderly and predictable development of the evidence weigh in

favor of the narrower rule, especially when discretion is given to the trial




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         Fed. R. Evid. 611(b).
    14
         Id.

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judge to permit inquiry into additional matters.” 15           Thus, in treating

depositions as the Court would treat a live witness, the Court should rarely

use its discretion to allow further questioning outside the scope of direct

examination.

              These cases support Plaintiffs’ request that during their case-in-chief,

Defendants’ cross- examination should be played only on those issues that were

raised during direct examination. And, to the extent Defendants believe an answer

has been unfairly truncated, it should be permitted to ask that the remainder of an

answer be played. But Defendants should not be permitted to essentially

commandeer the Plaintiffs’ case-in-chief by playing long stretches of testimony on

issues not raised by the Plaintiffs in their case-in-chief.




Date: November 15, 2019
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    15
         Fed. R. Evid. 611 (1974 Adv. Comm. Note to Subdivision (b)).

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1D, counsel hereby certifies that the foregoing has

been prepared in accordance with Local Rule 5.1 using Times New Roman 14

point font.

Date: November 15, 2019                           /s/ Chris Letter




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                         CERTIFICATE OF SERVICE

             I hereby certify that on November 15, 2019 a true and accurate copy

of the foregoing was filed electronically via CM/ECF in the United States District

Court for the Northern District of Georgia, with notice of the same being

electronically served by the Court to all counsel of record.

Date: November 15, 2019                              /s/ Chris Letter




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